
245 S.W.3d 238 (2007)
In the Interest of A.L.S., C.A.S., E.M.B., G.M.B.B., O.N.B., Juvenile Officer, Respondents,
v.
J.W.S., III, T.P.B., Defendants,
H.L.B., Appellant.
No. WD 68115.
Missouri Court of Appeals, Western District.
October 16, 2007.
Sarah E. Recker, Esq., Parkville, Kenneth D. Hassler, co-counsel, Kansas City, MO, for H.L.B.
Bert M. Godding, Esq., St. Joseph, MO, for J.W.S., III.
Tammy J. Glick, Esq., Platte City, MO, Guardian for, Respondents.
Janet Warner, Platte City, MO, respondent acting pro se.
Before NEWTON, P.J., SPINDEN and HARDWICK, JJ.

ORDER
PER CURIAM.
H.L.B. appeals from the judgment terminating parental rights to her five children. Upon review of the briefs and the record, we find no error and affirm the judgment. We have provided the parties with a Memorandum explaining the reasons for our decision, because a published opinion would have no precedential value.
AFFIRMED. Rule 84.16(b).
